24-1493 NAB v. FCC, et al


                              Eighth Circuit Court of Appeals

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The following was filed on 03/08/2024

Case Name: NAB v. FCC, et al
Case Number: 24-1493

Docket Text:
DOCUMENT FILED - Clerk Order Transferring Case to USCA for the Eighth Circuit,
(ORIGINALLY FILED IN U.S. COURT OF APPEALS FOR THE DC CIRCUIT on 3/8/24).
[5371950] [24-1493, 24-1380, 24-1480]

The following document(s) are associated with this transaction:
Document Description: Orer of DC Circuit transferring case

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